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                               UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
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      UNITED STATES OF AMERICA                 Case No. CV 13-03363 DDP (PJWx_
12    ex rel. CARY SAVITCH and GARY
      PROFFETT,                                ORDER RE: DISMISSAL
13
                 Plaintiffs,
14
                        v.
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16    ARIA O. SABIT, M.D., et al.,

17               Defendants.
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     Case 2:13-cv-03363-DDP-PJW Document 42 Filed 10/24/18 Page 2 of 2 Page ID #:273




 1                                            ORDER
 2          For good cause shown and pursuant to Federal Rule of Civil Procedure 41(a) and
 3    31 U.S.C. § 3730(b), IT IS HEREBY ORDERED THAT all claims for relief and causes
 4    of action against defendant Aria Sabit are hereby dismissed, said dismissal being with
 5    prejudice.
 6
 7    IT IS SO ORDERED.
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 9    DATED: 10/24/18                 _________________________________________
10                                    HON. DEAN PREGERSON
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